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                                CERTIFICATE OF SERVICE

       I hereby certify that on September 13, 2013, I filed the foregoing with the Clerk of Court

via the CM/ECF system, which will send notification of such filing to the counsel of record in

this matter who are registered on the CM/ECF system.



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